  Case 1:17-cv-01427-RGA Document 15 Filed 06/15/18 Page 1 of 2 PageID #: 73




                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

DISPLAY TECHNOLOGIES, LLC,

                      Plaintiff,
               v.                                           C.A. No. 17-1427-RGA
PIONEER & ONKYO U.S.A.                                   JURY TRIAL DEMANDED
CORPORATION

                      Defendant.


                           NOTICE OF VOLUNTARY DISMISSAL

       PLEASE TAKE NOTICE THAT, pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of

Civil Procedure, all of Display Technologies, LLC claims are hereby dismissed WITH PREJUDICE,

with each party to bear its own costs and attorneys’ fees. The defendant has not answered or filed a

motion for summary judgment.
Case 1:17-cv-01427-RGA Document 15 Filed 06/15/18 Page 2 of 2 PageID #: 74




Dated: June 15, 2018              BAYARD, P.A.

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